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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  -------------------------------------------------------------   X
                                                                  :
  MARK NUNEZ, et al.,                                             :
                                                                  :
                             Plaintiffs,                          :
                                                                  :
     - against -                                                  :
                                                                  :
  CITY OF NEW YORK, et al.,                                       :
                                                                  :
                             Defendants.                          :
                                                                  : 11 Civ. 5845 (LTS)(JCF)
  -------------------------------------------------------------   X
                                                                  :
  UNITED STATES OF AMERICA,                                       :
                                                                  :
                               Plaintiff-Intervenor,              :
                                                                  :
     - against -                                                  :
                                                                  :
  CITY OF NEW YORK and NEW YORK CITY                              :
  DEPARTMENT OF CORRECTION,                                       :
                                                                  :
                               Defendants.                        :
  -------------------------------------------------------------   X

                 STIPULATION AND ORDER TO TERMINATE,
               AMEND MONITORING, OR HOLD IN ABEYANCE
       CERTAIN ENUMERATED PROVISIONS OF THE CONSENT JUDGMENT

        This Stipulation is entered by and among the Plaintiff Class, Plaintiff the United States of
America (the “United States”), and Defendants the City of New York (the “City”) and the New
York City Department of Correction (the “Department” or “DOC”) (the City and the Department
are collectively referred to herein as the “Defendants”).

       WHEREAS, pursuant to Section XX, ¶ 1 of the Consent Judgment, Steve J. Martin (the
“Monitor”) was appointed as the Monitor and is responsible for providing the parties and Court
with assessments of the Department’s compliance with the Consent Judgment, entered on
October 21, 2015;

      WHEREAS, Defendants have completed the tasks required by certain provisions of the
Consent Judgment;
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       WHEREAS, the Monitor has issued reports finding Defendants to be in Substantial
Compliance with certain provisions of the Consent Judgment during several consecutive
Reporting Periods;

       WHEREAS, the parties have reviewed the requirements of the Consent Judgment,
reviewed the Monitor’s assessments of Defendants’ compliance with these requirements, and
engaged in discussions with the Monitor concerning the best use of the Monitor’s and
Defendants’ resources going forward;

      WHEREAS, the parties have agreed to voluntarily terminate certain provisions,
enumerated below, of the Consent Judgment;

        WHEREAS, the parties have agreed to place other provisions, enumerated below, in a
status of “inactive monitoring,” as further described below;

      WHEREAS, the parties have agreed to hold other provisions, enumerated below, in
abeyance, as further described below;

      WHEREAS, the Monitor recommends that entry of the Stipulation and Order will
advance the reform efforts under the Consent Judgment; and

        NOW, IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or
their respective counsel, and this Court THEREFORE ORDERS, as follows:

1.     Terminated Provisions. The following provisions of the Consent Judgment are
       terminated:

       •   § V. (Use of Force Reporting and Tracking):

              o ¶ 21 (Categories of Institutional Violence Data)

       •   § VI. (Anonymous Reporting System):

              o ¶ 1 (Anonymous Reporting Hotline)

       •   § VII. (Use of Force Investigations):

              o ¶ 6 (Video Interview Pilot)

              o ¶ 10 (Clear out of Full-ID Backlog)

       •   § IX. (Video Surveillance):

              o ¶ 1(a) (Installation of 7,800 cameras by 2/28/18)

              o ¶ 1(b) (Installation of cameras in 16, 17 and 18-year-old inmate areas)

              o ¶ 1(e) (Participate in Camera Working Group Meetings)

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     •   § X. (Risk Management):

            o ¶ 5 (Consideration for investigation of allegations in lawsuits)

     •   § XI. (Staff Recruitment and Selection):

            o ¶ 1 (Recruitment Program)

            o ¶ 2 (Selection Criteria)

            o ¶ 3 (Background Investigations)

     •   § XIII. (Training):

            o ¶ 1(a)(i)(1-2) (In-Service UOF Policy Training for current staff)

     •   § XVI. (Inmate Discipline):

            o ¶ 11 (Disciplinary Review Process)

     •   § XVII. (Housing Plan for Inmates Under the Age of 18):

            o ¶ 1 (Search and Identify to Find Housing Off Island for 16- and 17-Year-Old
                Inmates)

            o ¶ 2 (Description of Efforts to Find Off-Island Housing in Compliance Report)

            o ¶ 3 (Best Efforts to Find Off-Island Housing).

2.   Inactive Monitoring Provisions. The following provisions of the Consent Judgment
     shall be placed in the status of “inactive monitoring,” which means the Monitor shall, as
     of January 1, 2020, no longer be required to assess compliance with the provisions or
     provide the results of such assessments to the parties and the Court. However,
     Defendants are still required by the Consent Judgment to comply with these provisions,
     which shall remain in full force. These provisions also may be subject to active
     monitoring during future Reporting Periods if deemed necessary.

     •   § V. (Use of Force Reporting and Tracking):

            o ¶ 14 (Tracking of Use of Force Data)

            o ¶ 16 (Tracking for Full ID Investigations)

            o ¶ 17 (Tracking of Trials Data)

            o ¶ 19 (Tracking of Inmate-on-Inmate Fight Data)


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     •   § VII. (Use of Force Investigations):

            o ¶ 16 (Organized ID Files)

     •   § IX. (Video Surveillance):

            o ¶ 1(c) (Complete Camera Coverage by 2/28/18)

            o ¶ 4 (Video Preservation)

     •   § XIII. (Training):

            o   ¶ 1(a) (Content of Initial UOF Policy Training)

            o ¶ 1(a)(i) (Pre-Service UOF Policy Training)

            o ¶ 1(b)(i) (Pre-Service Crisis Intervention and Conflict Resolution Training)

            o ¶ 2(a)(i) (Pre-Service Defensive Tactics Training)

            o ¶ 2(c)(i) (ID Investigator Training)

            o ¶ 3(a) (Initial Young Inmate Management Training)

     •   § XV. (Safety and Supervision of Inmates Under the Age of 19):

            o ¶ 10 (Complete Camera Coverage for Inmates under 18)

            o ¶ 11 (Complete Camera Coverage for 18-year-olds)

            o ¶ 13 (Young Inmate Housing Areas shall be staffed by Qualified and
                Experienced Staff)

            o ¶ 14 (No Young Inmate Housing Area shall be staffed Exclusively by
                Probationary Staff)

            o ¶ 16 (Staffing Levels)

     •   § XVI. (Inmate Discipline):

            o ¶ 1 (No P-Seg Accumulated from Prior Incarceration).

3.   Abeyance. The following provisions of the Consent Judgment shall be placed in the
     status of “abeyance,” which means as of January 1, 2020, the provision is no longer
     required to be implemented. These provisions will not be subject to active monitoring or
     required to be implemented unless they are deemed necessary in future Reporting
     Periods:
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•   § XII. (Screening):
       o ¶¶ 4 – 5 (Screening for Special Units)




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FOR DEFENDANTS CITY OF NEW YORK AND DEPARTMENT OF CORRECTION:

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                            SO ORDERED this _____
                                             14th day of __________________,
                                                                  August     2020




                                   ______________________________
                                     /s/ Laura Taylor Swain
                                   LAURA TAYLOR SWAIN
                                   UNITED STATES DISTRICT JUDGE




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